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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
----------------------------X

UNITED STATES OF AMERICA,                           SATISFACTION OF JUDGMENT

              -against-                             Docket No. CR-19-0286
                                                    (EDNY)(AMD)
ROBERT SYLVESTER KELLY,

              Defendant.

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              WHEREAS, a judgment was imposed against the defendant and in favor of the

United States of America, in the amount of $520,549.90, that is, restitution in the amount of

$379,649.90, plus interest, a fine in the amount of $100,000.00, plus interest, a JVTA assessment

in the amount of $40,000.00, and a special assessment in the amount of $900.00, on December 7,

2022, in the above-captioned case, and thereafter entered on the docket sheet by the Clerk of

the Court on December 7, 2022.

              WHEREAS, said judgment has been fully paid as to the defendant ROBERT

SYLVESTER KELLY;

              THEREFORE, the Clerk of the Court is hereby authorized and requested to cancel,

satisfy and discharge the same solely as to the defendant ROBERT SYLVESTER KELLY.

Dated:        Brooklyn, New York
              December 1, 2023


                                                    BREON S. PEACE
                                                    United States Attorney


                                            By:      /s/ Daniel G. Saavedra
                                                    DANIEL G. SAAVEDRA
                                                    Assistant U.S. Attorney
                                                    (718) 254-6360
